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                        EXHIBIT B

                    Esposito Declaration
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                       Chapter 11

FTX TRADING LTD., et al., 1                                  Case No. 22-11068 (JTD)

         Debtors.                                            (Jointly Administered)



DECLARATION OF ROB ESPOSITO IN SUPPORT OF DEBTORS’ EIGHTY-SECOND
 (SUBSTANTIVE) OMNIBUS OBJECTION TO CERTAIN OVERSTATED AND/OR
            UNLIQUIDATED CLAIMS (CUSTOMER CLAIMS)

         I, Rob Esposito, hereby declare under penalty of perjury:

                 1.       I am a Senior Director at Alvarez & Marsal North America, LLC

(“A&M”), a restructuring advisory services firm specializing in interim management, crisis

management, turnaround consulting, operational due diligence, creditor advisory services and

financial and operation restructuring.

                 2.       I have more than 15 years of restructuring experience across various

industries, including broadcasting, oil & gas, manufacturing, pharma, transportation, automotive,

retail, telecommunications, and healthcare.

                 3.       Since joining A&M, I have been involved in numerous Chapter 11

restructurings, including Alpha Natural Resources, Sandridge Energy, Westmoreland Coal, Endo

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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete
    list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.
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International, Cumulus Media, Coach America, Cooper-Standard Automotive, Ascena Retail and

Exide Technologies.

                 4.       I submit this declaration (the “Declaration”) in support of the Debtors’

Eighty-Second (Substantive) Omnibus Objection to Certain Overstated and/or Unliquidated

Claims (Customer Claims) (the “Objection”). 2 I am not being compensated separately for this

testimony other than through payments received by A&M as financial advisor retained by FTX

Trading Ltd. and its affiliated debtors and debtors-in-possession (collectively, the “Debtors”).

                 5.       Except as otherwise indicated herein, all of the facts set forth in this

Declaration are based upon my personal knowledge, my review of relevant documents,

information provided to me by the Debtors’ management, the Debtors and other Debtor

professionals, including the A&M team, involved in advising the Debtors in the above-captioned

case (the “Chapter 11 Case”). If called upon to testify, I could and would testify to the facts set

forth herein on that basis. I am authorized to submit this Declaration on behalf of the Debtors.

                 6.       The Overstated and/or Unliquidated Claims subject to the Objection were

reviewed and analyzed in good faith using due diligence by appropriate personnel of the Debtors,

A&M, and the Claims Agent. Indeed, the Debtors and their advisors have spent months

reviewing and analyzing proofs of claim and any supporting documentation filed against the

Debtors. These efforts resulted in, among other things, identifying the Overstated and/or

Unliquidated Claims set forth in Schedule 1 and Schedule 2 to Exhibit A of the Objection.




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    Capitalized terms not otherwise defined herein are to be given the meanings ascribed to them in the Objection.


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               7.     Based on the Debtors’ and their advisors’ ongoing analysis and review, the

Debtors and their advisors have determined that the Overstated and/or Unliquidated Claims

allege incorrect quantities of cryptocurrencies and fiat held by such customer. Based on this

review, each of the Overstated and/or Unliquidated Claims listed in Schedule 1 and Schedule 2

includes details indicating that the claims are filed for amounts that differ from, and/or are

greater than, the amounts reflected in the Debtors’ books and records. I believe that certain

Overstated and/or Unliquidated Claims assert cryptocurrencies or claim amounts in excess of,

and inconsistent with those, as set forth in the Debtors’ books and records. In addition, certain

Overstated and/or Unliquidated Claims also assert a claim against a Debtor who is not

responsible for the asserted liability. Certain other Overstated and/or Unliquidated Claims are

missing tickers/quantities which were scheduled by the Debtors but not included in the Proof of

Claim. Moreover, certain claims include tickers/quantities in supporting documentation.

Therefore, I believe that the Overstated and/or Unliquidated Claims should be modified and

reduced to the amount set forth under the heading labeled “Modified Claims” consistent with

the Debtors’ books and records.

               Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge and belief.



Dated: August 28, 2024                           /s/ Rob Esposito
                                                 Rob Esposito
                                                 Alvarez & Marsal North America, LLC
                                                 Senior Director




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